                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR02-2030-LRR
 vs.                                               FINAL ORDER REGARDING
                                                    MOTION FOR SENTENCE
 JAMALL QUINTAE SALLIS,
                                                   REDUCTION PURSUANT TO
               Defendant.                             18 U.S.C. § 3582(c)(2)

                            ____________________________

       This matter is before the court pursuant to its May 6, 2008 order. In such order,
the court, among other things, discussed Amendment 706, as amended by Amendment
711, to USSG §2D1.1 and stated:
              Having reviewed the defendant’s file, the provisions and
              commentary of USSG §1B1.10, the factors set forth in 18
              U.S.C. § 3553(a), the nature and seriousness of the danger to
              any person or community that may be posed by a reduction in
              the defendant’s term of imprisonment and the defendant’s post-
              sentencing conduct, the court preliminarily deems it
              appropriate to exercise its discretion and grant the defendant
              the maximum reduction permitted under 18 U.S.C. §
              3582(c)(2) and USSG §1B1.10.             After adjusting the
              defendant’s amended guideline range by the same percentage
              pursuant to USSG §5K1.1 and 18 U.S.C. § 3553(e), . . . the
              maximum reduction results in a new term of 101 months
              imprisonment on count 1.
The court also notified the parties that they needed to file written objections to the
proposed reduction to the defendant’s sentence and that, if neither party objected, an order
would be filed that makes final the new term of imprisonment.
       Neither party filed objections to the court’s May 6, 2008 order. Consequently, the
court, under 18 U.S.C. § 3582(c)(2), grants a reduction in the defendant’s term of
imprisonment. The defendant’s previously imposed 126 month term of imprisonment, as


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reflected in the judgment dated June 2, 2003, is reduced to 101 months imprisonment.1
The defendant’s new term of 101 months imprisonment applies to count 1 of the
indictment. Except as provided above, all provisions of the judgment dated June 2, 2003
remain in effect. As previously stated in the May 6, 2008 order and without a separate
order from the court, the duration and conditions of the defendant’s supervised release
remain unchanged.
       The Clerk of Court is directed to send a copy of this order to the Bureau of Prisons,
that is, the place where the defendant is currently incarcerated. The Clerk of Court is also
directed to send a copy of this order to the defendant, USM No. 08809-029, and the
Federal Public Defender.
        IT IS SO ORDERED.
        DATED this 27th day of May, 2008.




        1
         For purposes of the May 6, 2008 order and the instant order, the court relied on
the following determinations:
 Previous Offense Level:      32                      Amended Offense Level:       30

 Criminal History Category:   IV                      Criminal History Category:   IV

 Previous Guideline Range:    168 to 210 months       Amended Guideline Range:     135 to 168 months
The court previously imposed a term of imprisonment below the guideline range applicable
to the defendant at the time of sentencing as a result of a departure under USSG §5K1.1,
and the court relied on 18 U.S.C. § 3553(e) to reduce the defendant’s sentence below the
statutory mandatory minimum. Consequently, the reduced term of 101 months
imprisonment is comparably less than the amended guideline range.

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